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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE,
                               Plaintiff,
                v.                                          Case No. 1:25-cv-11048-ADB

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

                               Defendants.



                          PLAINTIFF’S RULE 56.1 STATEMENT OF
                     UNDISPUTED MATERIAL FACTS IN SUPPORT OF ITS
                           MOTION FOR SUMMARY JUDGMENT


       Pursuant to Rule 56.1 of the Local Rules of Civil Procedure, Plaintiff President and Fellows

of Harvard College (“Harvard”) respectfully submits this statement of facts of which there is no

genuine issue to be tried.

A.     Harvard’s Federally Funded Research

       1.   Harvard University is a non-profit institution and is the oldest institution of higher

learning in the United States and one of the world’s leading research universities. Declaration of

John Shaw dated June 2, 2025 (“Shaw Decl.”) ¶ 3.

       2.   Harvard’s researchers have pioneered life-altering advancements in improving cancer

prevention and treatment, understanding neurodegenerative disorders, creating a new class of

antibiotics to treat infections, and studying how spaceflight affects blood cell formation in

astronauts. Shaw Decl. ¶¶ 7, 11.

       3.   Harvard’s research programs—funded in part by the Government—serve as training

grounds for the next generation of scientific, technological, medical, and public health leaders,



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with grants supporting the work of more than a thousand graduate students and postdoctoral

fellows. Shaw Decl. ¶¶ 8-9, 24, 27.

       4.   As of April 14, 2025, Harvard was a recipient of active grants from the following

agencies: the National Endowment of the Arts (“NEA”); the National Institutes of Health (“NIH”);

other subagencies of the Department of Health and Human Services (“HHS”); the National Science

Foundation (“NSF”); the Office of Personnel Management (“OPM”); the Department of Justice

(“DOJ”); the Department of Agriculture (“USDA”); the Department of Education (“Department

of Education)”; the Department of Energy (“Energy”); the Department of Defense (“DoD”); the

National Aeronautics and Space Administration (“NASA”); and the Department of Housing and

Urban Development (“HUD”). Shaw Decl. ¶ 6.

B.     Harvard’s Response to Antisemitism on Its Campus

       5.   Harvard has made policy and other changes aimed at ensuring its campus is safe, fair,

and welcoming to Jewish and Israeli students, including that it has:

             a.    Disciplined students and faculty who violate applicable policies, Declaration of

                   Peggy Newell dated June 2, 2025 (“Newell Decl.”) ¶ 18;

             b.    Enhanced programs and policies designed to address bias and promote

                   ideological diversity and civil discourse, Newell Decl. ¶¶ 11, 13-15, 26-27;

             c.    Adopted new accountability procedures and clarified policies, including

                   specifying that protests are not permitted in classrooms, libraries, dormitories,

                   dining halls, Harvard offices, and other places where they would interfere with

                   normal activities, and they expressly prohibit unauthorized encampments,

                   exhibits, and displays on campus, Newell Decl. ¶¶ 3, 5, 10-11, 13, 16;

             d.    Supplemented existing safety and security measures, Newell Decl. ¶ 17; and



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              e.      Refined its procedures and protections for reporting misconduct, Newell Decl.

                      ¶ 16.

        6.         All of these changes were publicly announced and widely reported. Newell Decl.

¶¶ 4, 6, 8, 12, 19, 21, 25.

        7.         Harvard has also made several leadership and personnel changes.1

        8.         Concurrently with these changes, President Garber charged a Presidential Task

Force on Combating Antisemitism and Anti-Israeli Bias (“Harvard Task Force”) in January 2024

with “identifying the root causes of and contributing factors to bias-based behaviors on campus”

and “recommending approaches to combat bias and to mitigate its impact on campus.” Newell

Decl. ¶ 26.

        9.    On April 29, 2025, the Harvard Task Force released a final 311-page report that, while

noting “numerous examples of students, staff, and faculty dedicated to renewing and strengthening

the Harvard community,” acknowledged the “alienating and hostile atmosphere” experienced by

many Jewish and Israeli students at Harvard, as well as “instances where administrators and faculty

at certain Harvard Schools seemingly fell short in their responsibility to uphold principles of open

inquiry, civility, and respectful disagreement within specific courses, programs, and events.”

Newell Decl. ¶ 26.2




1
    See, e.g., Alan Blinder, Alan Garber Will Stay On as Harvard’s President, N.Y. Times (Aug.
2, 2024), https://perma.cc/6HTP-55RL; John Manning Named Next Provost, Harvard Gazette
(Aug. 15, 2024), https://perma.cc/UAP8-34CP; Max J. Krupnick, David Deming Announced as
Harvard College Dean, Harvard Magazine (May 15, 2025), https://perma.cc/EP98-23MK; New
Member of Harvard Corporation, Harvard Univ.: Off. of the President (May 29, 2025),
https://perma.cc/22HB-YZWS.
2
   See also Presidential Task Force on Combating Antisemitism and Anti-Israeli Bias, Harvard
Univ., Final Report 26-28, 191 (Apr. 29, 2025), https://perma.cc/2QS7-4YE6 [hereinafter Final
Report].


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          10. To address its troubling findings, the Harvard Task Force recommended

comprehensive changes to “campus culture and student experience” and “governance” at Harvard.

The report called for changes in nine specific areas related to “campus culture and student

experience”: (1) admissions, (2) early student experiences, (3) academics, (4) academic offerings,

(5) “co-curricular activities and residential life,” (6) “building a pluralistic community,”

(7) religious life, (8) administrative infrastructure, and (9) “protests, complaints, and discipline.”

Newell Decl. ¶ 27.3

          11. The report recommended that Harvard:

                  a. Create a dedicated leadership position “specifically tasked with addressing

                     antisemitism and anti-Israel bias”;4

                  b. Provide students with “substantially more opportunities to learn about

                     antisemitism, Jewish history and culture, the history and politics of Israel,

                     Zionism, and the Israeli-Palestinian conflict,” and encourage classes to be co-

                     taught where possible to help students ground their views “in established facts,

                     rigorous scholarship, and adequately considered perspectives”;5

                  c. Develop a channel for informal grievances and anonymous complaints;6

                  d. Ensure “greater consistency in disciplinary procedures” across Harvard’s

                     Schools;7 and




3
    See also Final Report 173-90, supra n.2.
4
    Final Report 184, supra n.2.
5
    Id. at 178-79.
6
    Id. at 188.
7
    Id.


                                                   4
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                 e. Provide more oversight by tenured faculty over “educational programs and

                     instructor training.”8

        12. The Harvard Task Force made clear that “the resolutions and the reforms” must come

from Harvard. If “external parties . . . seek to compel adoption of some of [the] proposed reforms,”

the report observed, it “will make it more difficult for Harvard to fix itself.” Newell Decl. ¶ 28.9

        13. After the report’s release, President Garber responded on behalf of the University that

“Harvard cannot—and will not—abide bigotry” and is committed to “address[ing] with

determination at every level of the University” the challenges identified in the report and to

“act[ing] decisively” to do so. Newell Decl. ¶ 26 (citation omitted).

        14. To that end, Harvard already has taken steps to centralize and strengthen its disciplinary

procedures, including by empowering the President to call on a faculty panel of the University

Committee on Rights and Responsibilities (UCRR) to investigate, find facts, and impose discipline

in cases involving students from multiple Schools and alleged violations of University policies.

Newell Decl. ¶ 16.

        15. Harvard’s Academic Council (the president, provost, deans, and other senior leaders)

is “further developing and implementing new recommendations” in order to “nurtur[e] a widespread

sense of belonging and promot[e] respectful dialogue; revis[e] and implement[] policies, procedures,

and training; and strengthen[] academic and residential life.” Newell Decl. ¶ 29 (citation omitted).

        16. Harvard’s deans are reviewing recommendations concerning admissions, appointments,

curriculum, and orientation and training programs, and they have been directed to submit “action

plans” by June 2025 for each of Harvard’s schools. Newell Decl. ¶ 29 (citation omitted).



8
    Id. at 29.
9
    See also Final Report 4, supra n.2.


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        17. The Office of the President and Provost “will oversee the implementation of

recommendations,” including “the establishment of a University-wide initiative to promote and

support viewpoint diversity.” Newell Decl. ¶ 29 (citation omitted).

        18. The administrative record does not include Harvard’s statements and announcements

regarding measures it has taken and will take to combat antisemitism, and contains no evidence

predating the Government’s actions to cut off funding in which the defendant agencies provided

Harvard with detailed allegations of antisemitism at Harvard, identified what actions or inactions by

Harvard amounted to Title VI violations by Harvard, or identified which programs at Harvard were

affected by such violations. See generally Administrative Record.

C.      Defendants’ Threats to Harvard’s Federal Research Funding

        19. On February 3, 2025, the DOJ announced the formation of a multi-agency Task Force

to Combat Antisemitism (“Federal Task Force”) including representatives from the Department of

Education, HHS, and other agencies, led by Senior Counsel to the Assistant Attorney General for

Civil Rights, Leo Terrell.10

        20. Prior to Terrell’s appointment as Senior Counsel to the Assistant Attorney General for

Civil Rights and head of the Federal Task Force, on October 20, 2024, Terrell stated that “Harvard

will lose much more effective January 2025.”11

        21. On March 31, 2025, Harvard received a letter from the GSA (the “March 31 Letter”)

notifying Harvard of a “review” of more than $8.7 billion in federal funding to Harvard.

GSAHarv_00000003-04.




10
  Press Release, U.S. Dep’t of Just., Justice Department Announces Formation of Task Force to
Combat Anti-Semitism (Feb. 3, 2025), https://perma.cc/9JBC-UZ2D.
11
     @TheLeoTerrell, X.com (Oct. 20, 2024, 3:33 PM ET), https://perma.cc/C9EZ-9Q2J.


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       22. The March 31 Letter linked the review of funding to Defendants’ allegations about

antisemitism on Harvard’s campus. GSAHarv_00000003-4; see Declaration of Steven P. Lehotsky

dated June 2, 2025 (“Lehotsky Decl.”), Ex. 1.

       23. The Federal Task Force followed up on April 3, 2025, with an “official notice” of

certain “pre-conditions” with which Harvard was required to comply to continue receiving federal

funding (the “April 3 Letter”). HHSHarv_00000061-63.

       24. The April 3 Letter described “several broad, non-exhaustive areas of reform that the

government views as necessary for Harvard to implement to remain a responsible recipient of

federal taxpayer dollars,” including governance reforms “to foster clear lines of authority”;

oversight for “biased programs that fuel antisemitism” and to “improve viewpoint diversity”; and

efforts “to shutter” diversity, equity, and inclusion (“DEI”) programs that “teach” certain things.

HHSHarv_00000062-63.

       25. The April 3 Letter further stated that Harvard had “failed to protect American students

and faculty from antisemitic violence and harassment in addition to other alleged violations of

Title VI and Title VII of the Civil Rights Act of 1964” and called for “immediate cooperation in

implementing these critical reforms” as a prerequisite for “Harvard University’s continued

financial relationship with the United States government.” HHSHarv_00000062-63.

       26. Nowhere in the April 3 Letter did the Government acknowledge the reforms and

commitments Harvard had already made, including commissioning the Harvard Task Force, which

issued its report and recommendations shortly thereafter. HHSHarv_00000062-63.

       27. Nowhere in the April 3 Letter did the Government identify any specific instances of

antisemitism on Harvard’s campus. HHSHarv_00000062-63.




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        28. Nowhere in the April 3 Letter did the Government specify how Harvard failed to

respond to any such acts of antisemitism in a way that violated Title VI. HHSHarv_00000062-63.

        29. On the same day, the Government sent Harvard’s counsel an email to schedule a

meeting, along with an attached document that contained a “[m]enu” of further demands.

HHSHarv_00005230-35.

        30. Many of those demands mirrored those contained in the April 3 Letter, such as a

“choice” between “install[ing] new leadership in problematic depts” and “receivership.”

HHSHarv_00005234.

        31. The document also stated that the Government sought a “[s]enior secured 1st Lien on

all Harvard assets which will serve as collateral to pay back government from Harvard in event of

non-compliance in the future.” HHSHarv_00005235.

        32. On April 11, 2025, HHS, GSA, and the Department of Education sent another letter

to President Garber (the “April 11 Letter”). HHSHarv_00000098-102.

        33. The April 11 Letter, which stated that it “incorporates and supersedes” the April 3

Letter, asserted that Harvard “failed to live up to . . . [the] civil rights conditions that justify federal

investment” and laid out a list of conditions Harvard must satisfy to “maintain Harvard’s financial

relationship with the federal government.” HHSHarv_00000098.

        34. Specifically, among other demands, the Government’s conditions included:

“commission[ing] an external party . . . to audit the student body, faculty, staff, and leadership for

viewpoint diversity, such that each department, field, or teaching unit must be individually

viewpoint diverse”; “abolish[ing] all criteria, preferences, and practices, whether mandatory or

optional, throughout its admissions and hiring practices, that function as ideological litmus tests”;

for departments, fields, and teaching units found to “lack viewpoint diversity,” “hiring a critical



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mass of new faculty” and “admitting a critical mass of students” to provide the Government’s

preferred balance of viewpoint diversity; “reform[ing] and restructuring” governance; “reducing

the power held by students and untenured faculty,” as well as “the power held by faculty . . . more

committed to activism than scholarship”; and “shutter[ing]” all DEI programs “through structural

and personnel changes.” HHSHarv_00000098-102.

       35. The final arbiter of compliance with these conditions would be the federal

government, which would retain the right to audit Harvard (or review final audit reports by third

parties) until at least the end of 2028. HHSHarv_00000098-102.

       36. Like the April 3 Letter, the April 11 Letter stated that the Government expected

“immediate cooperation in implementing these critical reforms” if the University wanted to

“maintain Harvard’s financial relationship with the federal government.” HHSHarv_00000098-

102.

       37. Nowhere in the April 11 Letter did the Government acknowledge the reforms and

commitments Harvard had already made, including commissioning the Harvard Task Force, which

already had issued its preliminary recommendations. HHSHarv_00000098-102.

       38. Nowhere in the April 11 Letter did the Government identify any specific instances of

antisemitism on Harvard’s campus. HHSHarv_00000098-102.

       39. Nowhere in the April 11 Letter did the Government specify how Harvard failed to

respond to any such acts of antisemitism in a way that violated Title VI. HHSHarv_00000098-

102.

       40. Also on April 11, the DOJ’s Civil Rights Division sent Harvard a letter announcing

that it was “commencing a compliance review investigation of Harvard University [specifically

Harvard Medical School] pursuant to Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d



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et seq.,” and noting that “[i]f we conclude that Harvard University is violating Title VI, we will

inform you and work with you to secure compliance by informal voluntary means. 28 C.F.R.

§§ 42.107 & 42.108.” Lehotsky Decl., Ex. 2.

       41. On April 14, 2025, Harvard sent a letter responding to the April 3 and April 11 Letters,

stating that, because the April 11 Letter “presents demands that, in contravention of the First

Amendment, invade university freedoms long recognized by the Supreme Court,” “Harvard is not

prepared to agree to demands that go beyond the lawful authority of this or any administration”

and “will not accept the government’s terms” because “[n]either Harvard nor any other private

university can allow itself to be taken over by the federal government.” HHSHarv_00000104-05.

       42. On April 14, 2025, President Garber explained in a public message to the Harvard

community that “[a]lthough some of the demands outlined by the government are aimed at

combating antisemitism, the majority represent direct governmental regulation of the ‘intellectual

conditions’ at Harvard.” He explained that Harvard “do[es] not take lightly [its] moral duty to fight

antisemitism,” noting the steps Harvard had already taken and would continue to take, and stated

that “[n]o government—regardless of which party is in power—should dictate what private

universities can teach, whom they can admit and hire, and which areas of study and inquiry they

can pursue.”12

D.     Defendants’ Freeze Orders and Other Retaliation Against Harvard

       43. Later on April 14, 2025, the Federal Task Force “announc[ed] a freeze on $2.2 billion

in multi-year grants and $60M in multi-year contract value to Harvard University” (the “April 14

Freeze Order”). GSAHarv_00000012-13.



12
   Alan M. Garber, The Promise of American Higher Education, Harvard Univ.: Off. of the
President (Apr. 14, 2025), https://perma.cc/L4G7-J8UB.


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       44. The April 14 Freeze Order cited “[t]he harassment of Jewish students” and “the

troubling entitlement mindset that is endemic in our nation’s most prestigious universities and

colleges—that federal investment does not come with the responsibility to uphold civil rights

laws.” GSAHarv_00000012-13.

       45. Nowhere in the April 14 Freeze Order did the Government acknowledge Harvard’s

communications from earlier that day, outlining the measures Harvard had taken and had

committed to take. GSAHarv_00000012-13.

       46. Nowhere in the April 14 Freeze Order did the Government identify any specific

instances of antisemitism on Harvard’s campus. GSAHarv_00000012-13.

       47. Nowhere in the April 14 Freeze Order did the Government specify how Harvard failed

to respond to any such acts of antisemitism in a way that violated Title VI. GSAHarv_00000012-

13.

       48. The Government issued the April 14 Freeze Order without holding any hearing or

submitting any report to Congress. See generally Administrative Record.

       49. On April 15, 2025, the President opined on social media that “Perhaps Harvard should

lose its Tax Exempt Status and be Taxed as a Political Entity if it keeps pushing political,

ideological, and terrorist inspired/supporting ‘Sickness?’ Remember, Tax Exempt Status is totally

contingent on acting in the PUBLIC INTEREST!”13




13
    @realDonaldTrump,      Truth      Social    (Apr.    15,     2025,    10:09     AM      ET),
https://tinyurl.com/4u7dmjdc.


                                               11
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           50. On April 16, 2025, the President further criticized Harvard on social media for “hiring

almost all woke, Radical Left, idiots,” and said Harvard “should no longer receive Federal

Funds.”14

           51. On April 16, 2025, the Department of Homeland Security (“DHS”) threatened

Harvard’s eligibility to enroll international students.15

           52. On April 17, 2025, the Department of Education sent a records request to Harvard.16

           53. On April 18, 2025, reports surfaced that the Director of NIH’s Office of Policy for

Extramural Research Administration had informed other officials at NIH that the agency had

“received confirmation from HHS/IOS to hold off on making awards to schools where the funds

have been frozen, i.e., Columbia, Brown, Northwestern, Cornell, Weill-Cornell, Harvard,”17 and

that “HHS/IOS has stated that we should not provide any communications to these schools about

whether or why the funds are frozen.”18

           54. On April 19, 2025, HHS sent a records request to Harvard.19

           55. On April 24, 2025, the President again denounced the University as “a Liberal mess,”

while referencing this lawsuit.20



14
    @realDonaldTrump,      Truth          Social     (Apr.     16,    2025,     7:05     AM      ET),
https://tinyurl.com/yww6nfw7.
15
    Samuel A. Church & Cam N. Srivastava, DHS Threatens to Revoke Harvard’s Eligibility to
Host International Students Unless It Turns Over Disciplinary Records, Harvard Crimson (Apr.
17, 2025), https://perma.cc/775F-QA32.
16
   Press Release, U.S. Dep’t of Educ., U.S. Department of Education Initiates Records Request
from Harvard University After Discovering Inaccurate Foreign Financial Disclosures (Apr. 18,
2025), https://perma.cc/94K2-BQS7.
17
     @maxdkozlov, X.com (Apr. 18, 2025, 4:24 PM ET), https://perma.cc/A6L3-M43C.
18
     Id.
19
     Apr. 19, 2025 Letter from HHS’s Office for Civil Rights, https://perma.cc/2TXK-WG6K.
20
     @realDonaldTrump, Truth Social (Apr. 24, 2025, 9:33 AM ET), https://tinyurl.com/y84mntt2.


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         56. On May 2, 2025, President Trump posted on social media: “We are going to be taking

away Harvard’s Tax Exempt Status. It’s what they deserve!”21

         57. On May 5, 2025, the Secretary of Education sent Harvard another letter (the “May 5

Freeze Order”), claiming that “[i]n every way, Harvard has failed to abide by its legal obligations,”

and stating that “Harvard should no longer seek GRANTS from the federal government, since

none will be provided,” that “Harvard will cease to be a publicly funded institution,” and that

“today’s letter marks the end of new grants for the University.” EDHarvAR_0000008-10.

         58. The May 5 Freeze Order expressed the Government’s objection to what it

characterized as an imbalance of viewpoints in Harvard’s governance and reiterated its earlier

demands from the April letters and stated that “[t]he Administration’s priorities have not changed.”

EDHarvAR_0000008-10.

         59. Nowhere in the May 5 Freeze Order did the Government acknowledge the reforms

and commitments Harvard had already made, including commissioning the Harvard Task Force.

EDHarvAR_0000008-10.

         60. Nowhere in the May 5 Freeze Order did the Government identify any specific

instances of antisemitism on Harvard’s campus. EDHarvAR_0000008-10.

         61. Nowhere in the May 5 Freeze Order did the Government specify how Harvard failed

to respond to any such acts of antisemitism in a way that violated Title VI. EDHarvAR_0000008-

10.

         62. The Government issued the May 5 Freeze Order without holding any hearing or

submitting any report to Congress. See generally Administrative Record.




21
      @realDonaldTrump, Truth Social (May 2, 2025, 7:25 AM ET), https://tinyurl.com/35wu7kpk.


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       63. On May 12, 2025, President Garber sent a letter to Linda McMahon, the Secretary of

Education, in response to the May 5 Freeze Order, explaining that Harvard had implemented

“meaningful reform and recommendations designed to eliminate antisemitism and other forms of

hate from our campus.” Lehotsky Decl., Ex. 3.

       64. On May 13, 2025, the Federal Task Force issued a press release stating that “Harvard

University has repeatedly failed to confront the pervasive race discrimination and anti-Semitic

harassment plaguing its campus,” and stating that “[t]he Task Force fully supports the Trump

Administration’s multi-agency move to cut funding to Harvard, demonstrating the entire

Administration’s commitment to eradicating discrimination on Harvard’s campus.” The

Government did not engage with or acknowledge the many reforms and commitments Harvard

had already made and committed to make, nor did it claim to be adhering to Title VI’s detailed

procedural requirements. GSAHarv_00000014-15.

       65. On May 19, 2025, DOJ announced that it had opened a False Claims Act investigation

into Harvard.22

       66. On May 22, 2025, DHS revoked Harvard’s Student and Exchange Visitor Program

certification. Lehotsky Decl., Ex. 4.

E.     The Federal Government’s Purported Terminations of Grants

       67.     After issuing the April 14 Freeze Order, the Government immediately began

issuing stop work orders on certain grants, which require the cessation of all activities related to

the projects. Shaw Declaration ¶ 10; e.g., HHSHarv_00005225-29.



22
    Press Release, U.S. Dep’t of Just., Justice Department Establishes Civil Rights Fraud Initiative
(May 19, 2025), https://perma.cc/J4B7-UVQ4; Michael C. Bender & Michael S. Schmidt, Trump
Administration Escalates Harvard Feud with New Justice Dept. Investigation, N.Y. Times (May
15, 2025), https://perma.cc/M326-4APV.


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       68.     On April 16, 2025, DHS terminated two grants “totaling over $2.7 million to

Harvard University, declaring it unfit to be entrusted with taxpayer dollars.”23

       69.     Even before the May 5 Freeze Order, the Federal Task Force collected from

agencies the total universe of available grants. See, e.g., NASA-AR03541; NASA-AR03547;

NASA-AR03558-36.

       70.     White House officials also engaged in a multi-agency effort to identify grants with

Harvard that were eligible for termination. GSAHarv_00000035-37; GSAHarv_00000039;

NASA-AR03692-703; GSAHarv_00000124-34.

       71.     The White House controlled how agencies would explain the terminations,

including by using a common “template” letter. See, e.g., NASA-AR03637-45; USDA-HARV-

AR-000084; see also ENERGY AR3940-41; HHSHarv_00000474-77.

       72.     The White House gave the agencies a deadline for sending the termination letters

and directed them to terminate grants to Harvard after the “final greenlight from the White House.”

USDA-HARV-AR-00001; see also NASA-AR03679; DODHarv_00000001.

       73.     Harvard received termination letters from NIH, HHSHarv_00000473-77; USDA,

USDA-HARV-AR-00008-09; the Department of Energy, ENERGY AR3932-33; DoD,

DoDHarv_00000039-40; NSF, NSF_Harvard000002; HUD, HUDHarvAR_00000063-64; the

Department of Education, e.g., EDHarvAR_0000011-12; the Department of Commerce, Lehotsky

Decl., Ex. 5; and the Centers for Disease Control and Prevention, Lehotsky Decl., Ex. 6

(collectively, the “Termination Letters”).




23
    Press Release, U.S. Dep’t of Homeland Sec., Secretary Noem Terminates $2.7 Million in DHS
Grants; Orders Harvard to Prove Compliance with Foreign Student Requirements,
https://perma.cc/R6SV-9ECQ.


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       74.     The terminated grants related to all manner of medical, scientific, technological,

and other projects—ranging from breast cancer detection and prevention, to biological threats, to

overcoming antibiotic resistance, Shaw Decl. ¶¶ 11-13, to improving the neurologic outcomes for

pediatric cancer survivors to developing drugs to treat long-term radiation exposure and

chemotherapy,24 to studying the effects of particulate matter exposure on military veterans,

HHS_HARV_00004700,25 to creating “technologies that provide energy-relevant minerals for

economic and national security.”26

       75.     The termination decisions were made outside the agencies that are charged with

administering the programs and that had made the decision to provide federal funding to Harvard

in the first place. HHSHarv_00000061.

       76.     No termination letter presented any program-specific rationale for the terminations,

and no termination letter reflected that any program-specific consideration had occurred.

HHSHarv_00000473-77;            USDA-HARV-AR-00008-09;                ENERGY            AR3932-33;

DoDHarv_00000039-40;                 NSF_Harvard000002;               HUDHarvAR_00000063-64;

EDHarvAR_0000011-12; Lehotsky Decl., Exs. 5-6.

       77.     Almost all of the Termination Letters relied on a purported change in program goals

or agency priorities, invoking 2 C.F.R. § 200.340(a)(4), which provides that a federal agency may

terminate an award “pursuant to the terms and conditions of the . . . award, including, to the extent



24
   Liz Mineo, Freezing Funding Halts Medical, Engineering, and Scientific Research, Harvard
Gazette (Apr. 21, 2025), perma.cc/4MQ6-DRXA.
25
   See also Avani B. Rai & Saketh Sundar, Harvard’s Researchers Take Center Stage in Funding
Showdown with Trump, Harvard Crimson (Apr. 15, 2025), perma.cc/KH7R-4GBY.
26
    Harvard University: Developing Advanced NMR Techniques to Predict and Monitor CO2
Storage and Mineralization for Enhanced Mining Exploration and Operation, ARPA-E,
https://perma.cc/9WG9-XT6L.


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authorized by law, if an award no longer effectuates the program goals or agency priorities.”

HHSHarv_00000473;         ENERGY       AR3932;        DoDHarv_00000039;      NSF_Harvard000039;

HUDHarvAR_00000063-64; Lehotsky Decl., Ex. 5 at 1.

       78.      All but one of the agencies’ Termination Letters stated in some manner that

Harvard’s grant “awards no longer effectuate agency priorities” because of “recent events at

Harvard University involving antisemitic action” and “Harvard’s ongoing inaction in the face of

repeated and severe harassment and targeting of Jewish students,” coupled with Harvard’s

“refus[al] to take appropriate action . . . or implement necessary reforms.” E.g.,

HHSHarv_00000473-74; see ENERGY AR3932; DoDHarv_00000039; NSF_Harvard000039;

Lehotsky Decl., Ex. 6 at 1; USDA-HARV-AR-00008-09; EDHarvAR_0000011; Lehotsky Decl.,

Ex. 5 at 1-2.

       79.      The Termination Letters that did not cite such concerns contained no explanation

at all as to which agency priorities supposedly had changed or why Harvard’s grant awards

purportedly no longer aligned with agency priorities. HUDHarvAR_00000063-64.

       80.      Most of the Termination Letters asserted that “no modification of the projects could

align the projects with agency priorities” because Harvard had rejected the Government’s

demands. E.g., USDA-HARV-AR-00008; see HHSHarv_00000474; ENERGY AR3932.

       81.      None of the Termination Letters identified any specific instances of antisemitism

on Harvard’s campus, specified how Harvard failed to respond to any such acts of antisemitism in

a way that violated Title VI, or purported to follow Title VI’s procedural requirements that govern

termination of federal funding. HHSHarv_00000473-75; USDA-HARV-AR-00008-09; ENERGY

AR3932-33;      DoDHarv_00000039-40;        NSF_Harvard000002;        HUDHarvAR_00000063-64;

EDHarvAR_0000011-12; Lehotsky Decl., Exs. 5-6.



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       82.     Since Defendants began sending the Freeze Orders and Termination Letters,

Harvard has received notices of termination for over 950 already-awarded federal research

projects. Shaw Declaration ¶ 15.

       83.     Harvard has continued to receive those notices, including after the filing of the

Amended Complaint. Lehotsky Decl., Ex. 6.

       84.     One of the grants terminated by DoD was a grant that supported the Assured

Microbial Preservation in Harsh or Remote Areas (“AMPHORA”) Program, which worked to

increase awareness of emerging biological threats. DoDHarv_00000039-40; DoDHarv_00000047.

       85.     A day after sending a termination letter to Harvard on May 12, 2025, DoD

leadership informed officials at the agency that the Secretary of Defense had directed the

cancellation of the grants and asked them to issue notices and stop work orders to individual grant

recipients. DoDHarv_00000039-40; DoDHarv_00000033.

       86.     The director of contracting at the Defense Advanced Research Projects Agency

(“DARPA”) asked to save the grant relating to the AMPHORA program, explaining that:

               Harvard is currently the top performing team on the AMPHORA program.
               Inadequate knowledge of the biological threat landscape poses grave and
               immediate harm to national security. Development of critical technologies
               that enables bio surveillance and biocollection in austere, field forward
               locations bolsters national security and warfighter safety and lethality by
               enabling medical countermeasure development to new and emerging threats
               and provides biological threat intelligence to the deployed warfighter. This
               technology is significantly outpacing the state-of-the art and provides a
               novel leap-ahead capability to the force. Harvard’s effort is at a pivotal
               juncture in Phase 1 as they are just starting the microfluidic experiments
               that will give first indications of whether the program goal is achievable.
               They are also a critical integrator of multiple technologies that enable this
               effort and could not be readily reproduced.

DoDHarv_00000047.




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           87.   Nothing in the Government’s administrative record indicates that the Secretary of

Defense yielded to the DARPA director of contracting’s request. See generally Administrative

Record.

           88.   In addition to canceling military research pivotal to national security, the

Government ordered immunologists overseeing a multi-school tuberculosis consortium to

immediately stop research. HHSHARV_00005181.27

           89.   The Government also told a Harvard researcher at the Wyss Institute to halt his

development of an advanced chip designed to measure NASA astronauts’ radiation exposure

during the upcoming Artemis II mission to the Moon. HHS_HARV_00004937.28

           90.   The Government directed another Wyss Institute scientist, a recipient of the

nation’s highest honor for technological achievement, to cease his research into Lou Gehrig’s

disease.29 HHS_HARV_00005228.

           91.   Officials at the Department of Veterans Affairs have begun the process of cutting

funding for research into, among other life-saving measures, “a predictive model to help V.A.

emergency room physicians decide whether suicidal veterans should be hospitalized.”30 See

HHSHarv_00002326.




27
   See also Nina Pasquini, Research on Hold: Funding Freeze Halts Harvard Projects Overnight,
Harvard Mag. (Apr. 18, 2025), https://perma.cc/5K2W-D4TN.
28
     Id.
29
   Id.; Benjamin Boettner, David Walt Named as Laureate for National Medal of Technology and
Innovation, Wyss Inst. (Jan. 7, 2025), perma.cc/W8ZG-SMZ8.
30
   Nicholas Nehamas, Trump’s Push to Defund Harvard Prompts Clash Over Veteran Suicide
Research, N.Y. Times (May 16, 2025), https://perma.cc/U7W8-K6KM.


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F.      The Government Continues to Threaten Harvard’s Federal Funding

        92.    On May 20, 2025, HHS announced it was cutting an additional $60 million in multi-

year grants to Harvard.31

        93.    On May 26, 2025, the President stated that he was considering taking away “Three

Billion Dollars” from “a very antisemitic Harvard,” which he would then give to “TRADE

SCHOOLS.”32

        94.    And on May 27, 2025, GSA targeted approximately $100 million in contracts,

instructing agencies to “consider [their] contracts with Harvard University and determine whether

Harvard and its services efficiently promote the priorities of the agency.” Lehotsky Decl., Ex. 7.33

        95.    On May 28, 2025, during an interview in the Oval Office, President Trump

remarked that Harvard is “hurting [itself]” by “fighting,” and noted that “Columbia has been,

really, and they were very, very bad . . . . But they’re working with us on finding a solution.” He

further stated that Harvard “wants to fight. They want to show how smart they are, and they’re

getting their ass kicked”; “every time [Harvard] fight[s], they lose another $250 million”; and “[a]ll

they’re doing is getting in deeper and deeper and deeper.”34

G.      The Federal Government’s Failure to Comply with Title VI Procedures

        96.    No Government agency ever acknowledged or engaged with the numerous steps

Harvard has taken and committed to take to address antisemitism prior to freezing and terminating



31
   Dhruv T. Patel & Grace E. Yoon, HHS Freezes $60 Million in Federal Grants to Harvard in
Third Round of Trump Cuts, Harvard Crimson (May 20, 2025), https://perma.cc/3592-75P6.
32
     @realDonaldTrump, Truth Social (May 26, 2025, 8:27 AM ET), https://tinyurl.com/4jfk7k2k.
33
    See also Read the Trump Administration Letter About Harvard Contracts, N.Y. Times (May
27, 2025), https://perma.cc/V4DC-VS4Y.
34
   President Donald Trump Taking Questions in the Oval Office (Newsmax, aired May 28, 2025,
12:42 PM ET), https://perma.cc/ZUC6-3SP6.


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Harvard’s federal financial assistance, nor has it given Harvard an opportunity to explain

additional steps taken since the initial freezing of funding. See generally Administrative Record.

       97.     No Government agency has identified or provided Harvard notice of any specific

instances of conduct or inaction by Harvard that would constitute a Title VI violation. See

generally Administrative Record.

       98.     No Government agency has afforded Harvard an opportunity for a hearing prior to

freezing and terminating Harvard’s federal financial assistance. See generally Administrative

Record.

       99.     No Government agency has made any express findings on the record about any

Title VI allegations against Harvard. See generally Administrative Record.

       100.    No Government agency has submitted a written report to Congress, let alone a full

report from each relevant agency head to any relevant committee of the House or Senate. See

generally Administrative Record.

       101.    No Government agency allowed for thirty days to elapse before the Freeze Orders

and Termination Letters became effective. Instead, the Freeze Orders and Termination Letters took

effect immediately. See generally Administrative Record.

H.     The Irreparable Harm to Harvard

       102.    The Government’s purported termination of Harvard’s federal financial assistance

is having and will continue to have significant consequences on Harvard’s research programs.

Shaw Decl. ¶ 16.

       103.    The Government’s purported termination of Harvard’s federal financial assistance

is contributing and will contribute to the extensive disruption of Harvard’s research operations in




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a manner that devastates the integrity and continuity of ongoing research studies and jeopardizes

their future viability. Shaw Decl. ¶¶ 16-24, 27.

       104.    Without funding, physical materials would degrade; graduate students would lose

their funding and need to find different positions; and professors would move to other schools.

Shaw Decl. ¶¶ 19-21.

       105.    The Government’s unconstitutional and unlawful funding cuts will cause staffing

reductions, “damage the national research pipeline,” and “slow[] down or halt[] research” to the

point of allowing “competitor nations to surpass the United States.” Shaw Decl. ¶¶ 21-22, 25.

       106.    Moreover, “[t]he disruption in ongoing research would harm public health” by

upending “federally funded projects directly addressing critical public health challenges, including

cancer treatments and prevention, infectious diseases, and Parkinson’s.” Shaw Decl. ¶ 27.

       107.    “In light of the terminations, those projects are in jeopardy, and potentially life-

changing and life-saving scientific and medical discoveries will be delayed or blocked altogether.”

Shaw Decl. ¶ 27.

       108.    Harvard cannot absorb the cost of the suspended or cancelled federal funds. Shaw

Decl. ¶¶ 29-31.




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Dated: June 2, 2025                         Respectfully submitted,

                                            /s/ Steven P. Lehotsky
William A. Burck*                           Steven P. Lehotsky (BBO # 655908)
QUINN EMANUEL URQUHART &                    Scott A. Keller*
SULLIVAN, LLP                               Jonathan F. Cohn*
1300 I Street NW, Suite 900                 Mary Elizabeth Miller* (BBO # 696864)
Washington, DC 20005                        Shannon G. Denmark*
williamburck@quinnemanuel.com               Jacob B. Richards (BBO # 712103)
                                            LEHOTSKY KELLER COHN LLP
Robert K. Hur*                              200 Massachusetts Ave. NW, Suite 700
KING & SPALDING LLP                         Washington, DC 20001
1700 Pennsylvania Ave. NW, Suite 900        T: (512) 693-8350
Washington, DC 20006                        F: (512) 727-4755
rhur@kslaw.com                              steve@lkcfirm.com
                                            scott@lkcfirm.com
Joshua S. Levy (BBO #563017)                jon@lkcfirm.com
Mark Barnes (BBO #568529)*                  mary@lkcfirm.com
John P. Bueker (BBO #636435)                shannon@lkcfirm.com
Elena W. Davis (BBO #695956)                jacob@lkcfirm.com
ROPES & GRAY LLP
Prudential Tower                            Katherine C. Yarger*
800 Boylston Street                         LEHOTSKY KELLER COHN LLP
Boston, MA 02199                            700 Colorado Blvd., #407
Joshua.Levy@ropesgray.com                   Denver, CO 80206
Mark.Barnes@ropesgray.com                   katie@lkcfirm.com
John.Bueker@ropesgray.com
Elena.Davis@ropesgray.com                   Joshua P. Morrow*
                                            LEHOTSKY KELLER COHN LLP
Douglas Hallward-Driemeier                  408 W. 11th Street, 5th Floor
(BBO #627643)                               Austin, TX 87801
Stephen D. Sencer*                          josh@lkcfirm.com
ROPES & GRAY LLP
2009 Pennsylvania Avenue, N.W.              Danielle K. Goldstein*
Washington, D.C. 20006                      LEHOTSKY KELLER COHN LLP
Douglas.Hallward-Driemeier@ropesgray.com    3280 Peachtree Road NE
Stephen.Sencer@ropesgray.com                Atlanta, GA 30305
                                            danielle@lkcfirm.com


                                            *Admitted Pro Hac Vice




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                              CERTIFICATE OF SERVICE

       Counsel for Plaintiff certify that they have submitted the foregoing document with the

clerk of court for the District of Massachusetts, using the electronic case filing system of the

Court. Counsel for Plaintiff hereby certify that they have served all parties electronically or by

another manner authorized by Fed. R. Civ. P. 5(b)(2).

                                                    /s/ Steven P. Lehotsky
                                                    Steven P. Lehotsky




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